Case 8:20-cv-02184-MSS-SPF       Document 42      Filed 11/10/22    Page 1 of 6 PageID 646




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 MELANIE MOORE,

       Plaintiff,

 v.                                                    Case No: 8:20-cv-2184-T-35SPF

 POOCHES OF LARGO, INC. and
 LUIS MARQUEZ, Individually and as
 owner of Pooches of Largo, Inc.,

       Defendants.


                                        ORDER

       THIS CAUSE comes before the Court for consideration of Plaintiff’s Motion

 for Leave to File First Amended Complaint, (Dkt. 35), Defendants’ response in

 opposition thereto, (Dkt. 38), and Plaintiff’s reply in support. (Dkt. 40) For the reasons

 that follow, Plaintiff’s Motion, (Dkt. 35), is GRANTED IN PART and DENIED IN

 PART.

       I. BACKGROUND

       Plaintiff Melanie Moore initiated this action against her former employer

 Pooches of Largo, Inc. and its owner, Luis Marquez, alleging thirteen causes of action,

 including failure to pay minimum wages and retaliation in violation of the Fair Labor

 Standards Act (“FLSA”), retaliation in violation of the Florida Whistleblower Act,

 breach of contract, wage theft in violation of Pinellas County Code of Ordinances

 70.306, two counts of fraudulent misrepresentation, promissory fraud, tortious

                                             1
Case 8:20-cv-02184-MSS-SPF             Document 42         Filed 11/10/22      Page 2 of 6 PageID 647




 interference with contract, abuse of process, defamation per se, “civil conspiracy” in

 violation of 42 U.S.C. § 1985, and intentional infliction of emotional distress. (Dkt. 1)

         On July 28, 2021, the Court granted in part and denied in part Defendants’

 Motion to Dismiss the Complaint, finding that Plaintiff’s breach of contract and FLSA

 wage claims survived dismissal and dismissing the remaining claims. (Dkt. 29) The

 Court further directed the Parties to comply with the Court’s FLSA Scheduling Order.

 (Id.; Dkt. 30) It does not appear that the Parties have complied with the directives

 therein.1 On May 2, 2022, Plaintiff filed the instant Motion for Leave to File First

 Amended Complaint, seeking leave to file a proposed amended complaint. (Dkts. 35,

 36) Plaintiff’s proposed amended complaint contains eleven causes of action, some of

 which were included in her previous complaint and some of which were not. (Dkt. 36)

 Defendants oppose the requested relief. (Dkt. 38)

         II. LEGAL STANDARD

         Rule 15(a) of the Federal Rules of Civil Procedure provides that after a

 responsive pleading is served, a party may amend its complaint “only with the

 opposing counsel’s written consent or the court’s leave. The court should freely give

 leave when justice so requires.” Fed. R. Civ. P. 15(a). However, a motion to amend

 may be denied on grounds, such as “undue delay, bad faith or dilatory motive on the

 part of the movant, repeated failure to cure deficiencies by amendments previously

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   Plaintiff filed answers to the Court’s interrogatories on August 13, 2021, triggering additional
 deadlines in the FLSA Scheduling Order. (Dkt. 34) Specifically, thereafter, the Scheduling Order
 directs the Parties to exchange documents, meet and confer in person in a good faith effort to settle all
 pending issues, and file a joint Report Regarding Settlement. (Dkt. 30) As of the date of this Order,
 no Report Regarding Settlement has been filed.
                                                    2
Case 8:20-cv-02184-MSS-SPF       Document 42      Filed 11/10/22    Page 3 of 6 PageID 648




 allowed, undue prejudice to the opposing party by virtue of allowance of the

 amendment, [and] futility of amendment.” Equity Lifestyle Props., Inc. v. Fla.

 Mowing & Landscape Serv., Inc., 556 F.3d 1232, 1241 (11th Cir. 2009) (alteration in

 original) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)). “Pro se pleadings are

 held to a less stringent standard than pleadings drafted by attorneys and will, therefore,

 be liberally construed.” Tannenbaum v. United States, 148 F.3d 1262, 1263 (11th Cir.

 1998).

          III.   DISCUSSION

          The Court has reviewed Plaintiff’s proposed amended pleading and finds that

 while several of the claims were disposed of in its previous Order, Plaintiff has added

 new claims and has made some changes to her former pleading. Accordingly, after

 reviewing the proposed amended pleading, the Court finds that while Plaintiff has not

 cured the deficiencies in her retaliation claims (Counts One and Two) and her

 conspiracy claim (Count Eleven), the remaining claims not futile and Plaintiff should

 be permitted leave to amend.

          First, Plaintiff has repleaded her FLSA wage claim (Count Three), which the

 Court previously held to be viable. Additionally, Plaintiff has pleaded a new claim for

 failure to pay minimum wages pursuant to Florida Statute § 448.110 (Count Four),

 new claims for civil theft (Count Five) and conversion (Count Six) under Florida law

 based on the Defendants’ failure to pay her wages, and a new claim for malicious

 prosecution (Count Ten). (Dkt. 36) Defendants do not address the merits of these new

 claims in their response. (Dkt. 38) As such, given the liberal pleading standard and
                                             3
Case 8:20-cv-02184-MSS-SPF       Document 42     Filed 11/10/22    Page 4 of 6 PageID 649




 absent any compelling opposition from Defendants, the Court finds that Plaintiff

 should be permitted leave to amend her pleading to include these new claims.

       Moreover, the Court finds that it would not necessarily be futile to permit

 Plaintiff to replead her fraud claims and her tortious interference claim, which were

 previously dismissed. The Court dismissed Plaintiff’s fraud claims stemming from the

 allegedly false representations made by Defendants in the indeed.com job offer

 because they overlapped with her contract claim. (Dkt. 29 at 16-18) However, in the

 proposed Amended Complaint, Plaintiff no longer alleges a claim for breach of

 contract and, importantly, no longer alleges that a contract was formed based on the

 indeed.com job posting. (Dkt. 36) Accordingly, the Court finds that Plaintiff may

 plausibly state a claim for fraud in the inducement or fraudulent misrepresentation

 based on the allegation that Defendants made knowingly false assertions in the job

 posting that the position was full-time and paid an annual salary of $35,000, which

 Plaintiff alleges induced her to enter into an employment relationship with

 Defendants. (Id. at ¶¶ 178 – 207) However, the Court notes that Plaintiff’s claims for

 fraud in the inducement and fraudulent misrepresentation have the same elements and

 are premised on the same underlying facts and are, thus, duplicative of one another.

 Thus, when repleading, Plaintiff is directed to plead only one of the two fraud claims.

 The Court also finds that Plaintiff has sufficiently amended her proposed tortious

 interference claim to state a colorable cause of action for tortious interference with a

 contract. (Id. at ¶¶ 208–33)



                                            4
Case 8:20-cv-02184-MSS-SPF      Document 42      Filed 11/10/22   Page 5 of 6 PageID 650




       However, the fact that the Court permits Plaintiff to amend her pleading to

 include these claims does NOT signify that the Court believes these claims are

 ultimately viable. The barebones response of the Defendants does not provide the

 Court with sufficient information on which to base a dismissal with prejudice. At this

 stage, the Court finds that Plaintiff can plausibly allege claims to which a Motion to

 Dismiss or an answer would be required.

       IV.    CONCLUSION

       Upon consideration of the foregoing, it is hereby ORDERED as follows:

          1. Plaintiff’s Motion for Leave to File First Amended Complaint, (Dkt. 35),

              is GRANTED IN PART AND DENIED IN PART.

          2. The Clerk is directed to TERMINATE the proposed Amended

              Complaint filed at Docket No. 36. Plaintiff is permitted to re-file, within

              fourteen (14) days of the date of this Order, an amended complaint that

              STRICTLY complies with the directives of this Order, removing Counts

              One, Two, and Eleven and the duplicative claim for fraud. Thereafter,

              Defendants shall have fourteen (14) days to answer or otherwise

              respond. THE COURT CAUTIONS PLAINTIFF THAT IF SHE

              DOES NOT CULL HER AMENDED COMPLAINT AS DIRECTED

              AND INSTEAD ATTEMPTS TO REPLEAD CLAIMS NOT

              OTHERWISE PERMITTED, THE COURT WILL DISMISS THIS




                                            5
Case 8:20-cv-02184-MSS-SPF     Document 42      Filed 11/10/22    Page 6 of 6 PageID 651




             MATTER WITH PREJUDICE FOR FAILURE TO COMPLY

             WITH THIS ORDER.

          3. The Court previously relieved the Parties of the requirement to file a Case

             Management Report and directed the Parties to comply with the Court’s

             FLSA Scheduling Order. As noted above, however, the Parties have

             failed to comply with the directives in the Court’s FLSA Scheduling

             Order. Accordingly, the Parties are directed confer within twenty-one

             (21) days of the date of this Order and file a JOINT Case Management

             Report using the uniform form found under the Forms tab on the Court’s

             website: https://www.flmd.uscourts.gov/judges/mary-scriven.

       DONE and ORDERED in Tampa, Florida, this 10th day of November 2022.




 Copies furnished to:
 Counsel of Record
 Any pro se party




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